                       Exhibit A




Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 1 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 2 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 3 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 4 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 5 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 6 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 7 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 8 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 9 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 10 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 11 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 12 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 13 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 14 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 15 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 16 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 17 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 18 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 19 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 20 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 21 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 22 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 23 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 24 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 25 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 26 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 27 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 28 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 29 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 30 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 31 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 32 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 33 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 34 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 35 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 36 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 37 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 38 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 39 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 40 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 41 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 42 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 43 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 44 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 45 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 46 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 47 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 48 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 49 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 50 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 51 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 52 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 53 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 54 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 55 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 56 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 57 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 58 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 59 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 60 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 61 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 62 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 63 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 64 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 65 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 66 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 67 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 68 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 69 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 70 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 71 of 72
Case 5:20-cv-04030-LTS-MAR Document 1-1 Filed 05/29/20 Page 72 of 72
